101 F.3d 690
    In re Lease-a-Fleet, Inc., Debtor; Lease-a-Fleet, Inc.,Rawle &amp; Henderson, Needle &amp; Feldman, First Union NationalBank of Florida, Carro, Spanbock, Castor &amp; Cuiffo, Cohen,Engel &amp; Albert, Holtzman, Krinzman &amp; Equels, Nihill &amp; Riedley, P.C.
    NO. 96-1045
    United States Court of Appeals,Third Circuit.
    Oct 21, 1996
    
      Appeal From:  E.D.Pa., No. 93-05475,
      Kelly, J.
    
    
      1
      AFFIRMED.
    
    